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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  11 BOURQUE CPA S AND ADVISORS, CASE NO.
     INC., et al.                8:20−cv−00597−RGK−DFM
  12
                   Plaintiff(s),
  13                             STANDING ORDER REGARDING
           v.                    NEWLY ASSIGNED CASES
  14 THE PEOPLE S REPUBLIC OF
     CHINA, et al.
  15
                  Defendant(s).
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  18
  19         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.
  20        This action has been assigned to the calendar of Judge R. Gary Klausner. The
  21   responsibility for the progress of litigation in the Federal Courts falls not only upon
  22   the attorneys in the action, but upon the Court as well. “To secure the just, speedy,
  23   and inexpensive determination of every action,” Federal Rule of Civil Procedure 1,
  24   all counsel are hereby ordered to familiarize themselves with the Federal Rules of

  25   Civil Procedure, particularly Federal Rules of Civil Procedure 16, 26, the Local

  26   Rules of the Central District of California (available on the Court’s website at

  27   www.cacd.uscourts.gov), this Court’s Order for Jury Trial, and this Court’s Order

  28   for Court Trial.


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  1          UNLESS OTHERWISE ORDERED BY THE COURT, THE

  2    FOLLOWING RULES SHALL APPLY:

  3          1. Service of the Complaint. The Plaintiff(s) shall promptly serve the

  4    Complaint in accordance with Fed. R. Civ. P. 4 and file the proofs of service

  5    pursuant to Local Rule. Any Defendant(s) not timely served shall be dismissed

  6    from the action without prejudice. Any “DOE” or fictitiously-named Defendant(s)

  7    who is not identified and served within 90 days after the case is filed shall be

  8    dismissed pursuant to Federal Rule of Civil Procedure 4(m). Proof of service

  9    of the summons and complaint shall be filed within 5 days of service of said

  10   documents.

  11         2. Removed Actions.      Any answers filed in state court must be refiled

  12   in this Court as a supplement to the petition. Any pending motions must be

  13   re-noticed in accordance with Local Rules. If an action is removed to this Court

  14   that contains a form pleading, i.e., a pleading in which boxes are checked, the party

  15   or parties utilizing the form pleading must file an appropriate pleading with this

  16   Court within thirty (30) days of receipt of the Notice of Removal. The appropriate

  17   pleading referred to must comply with the requirements of Federal Rules of Civil

  18   Procedure, Rules 7, 7.1, 8, 9, 10 and 11.

  19         3. Petitions under 18 U.S.C. Section 983(f). Petitioner(s) shall file and

  20   serve within 3 days of the date of this order an ex parte application requesting a

  21   hearing on the Petition to ensure prompt resolution of the Petition in compliance

  22   with section 983(f)’s deadlines.

  23         4. Presence of Lead Counsel. The attorney attending any proceeding

  24   before this Court, including all status and settlement conferences, must be the lead

  25   trial counsel.

  26         5. Discovery. All discovery matters have been referred to a United States

  27   Magistrate Judge to hear all discovery disputes. (The Magistrate Judge’s initials

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  1    follow the Judge’s initials next to the case number.) All documents must include

  2    the words “DISCOVERY MATTER” in the caption to ensure proper routing.

  3    Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy Clerk

  4    to schedule matters for hearing. Please do not deliver courtesy copies of these

  5    papers to this Court.

  6         The decision of the Magistrate Judge shall be final, subject to modification

  7    by the District court only where it has been shown that the Magistrate Judge’s

  8    order is clearly erroneous or contrary to law. Any party may file and serve a motion

  9    for review and reconsideration before this Court. The moving party must file and

  10   serve the motion within ten (10) days of service of a written ruling or within ten

  11   (10) days of an oral ruling that the Magistrate Judge states will not be followed by

  12   a written ruling. The motion must specify which portions of the text are clearly

  13   erroneous or contrary to law, and the claim must be supported by points and

  14   authorities. Counsel shall deliver a conformed copy of the moving papers and

  15   responses to the Magistrate Judge’s clerk at the time of filing.

  16        6. Motions. Motions shall be filed and set for hearing in accordance with

  17   Local Rule 6-1, except that this Court hears motions on Mondays commencing at

  18   9:00 a.m. If Monday is a national holiday, this Court will hear motions on the

  19   succeeding Tuesday. If the date the motion was noticed for hearing is not available,

  20   the Court will issue a minute order resetting the date. Any opposition or reply

  21   papers due on a holiday are due the preceding Friday, not the following Tuesday.

  22   Memoranda of Points and Authorities in support of or in opposition to

  23   motions shall not exceed 20 pages. Replies shall not exceed 10 pages. Only

  24   in rare instances and for good cause shown will the Court agree to extend these

  25   page limitations. Pursuant to Local Rule 11-3.1.1, either a proportionally spaced

  26   or monospaced font may be used. A proportionally spaced font must be 14-point

  27   or larger, or as the Court may otherwise order. A monospaced font may not contain

  28   more than 10½ characters per inch.


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  1          Motions, Oppositions, and Replies shall be electronically filed only.

  2    With the exception of physical exhibits, all documents supporting the motion,

  3    opposition, or reply (e.g., declarations, exhibits, statements of undisputed

  4    or disputed facts, judicial notices) shall also be electronically filed only,

  5    and filed as attachments to the corresponding brief. Furthermore, each

  6    supporting document shall be filed as an individual attachment, such that

  7    each document can be accessed by its own individual link. Each attachment

  8    shall be designated by the title of the document.

  9    Example (Docket Entry for Defendant’s Notice of Motion and Motion for

  10   Summary Judgment):

  11         Document Selection Menu

  12         Select the document you wish to view.

  13         Document Number: 100         23 pages            150 kb

  14
  15         Attachment     Description

  16         1               Separate Statement of Undisputed Facts    10 pages   50 kb

  17         2               Declaration of Bob Smith                  4 pages    30 kb

  18         3               Exhibit A - Purchase Agreement            5 pages    1.2 mb

  19         4               Exhibit B - Jones Deposition              10 pages   0.9 mb

  20         5               Exhibit C - Thomas Declaration            3 pages    23 kb

  21         6               Proposed Order                            2 pages    20 kb

  22   Within the parties’ briefs, any reference to information or evidence contained
  23   in the supporting documents shall contain the documents’ location in the
  24   citation.
  25   Example: Plaintiff and Defendant executed the Purchase Agreement on January 2,
  26   2010. (Purchase Agreement, Smith Decl., Ex. A at p.5.)
  27   ///
  28   ///

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  1         Motions for Summary Judgment: Without prior permission from the Court,

  2    no party may file more than one motion pursuant to Fed.R.Civ. P. 56 regardless

  3    of whether such motion is denominated as a motion for summary judgment or

  4    summary adjudication.

  5         Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6): Where a defendant

  6    has filed a Rule 12(b)(6) motion, and in lieu of filing an opposition, if the plaintiff

  7    intends to file an amended complaint, the plaintiff shall file either the Amended

  8    Complaint or a Notice of Intent to File Amended Complaint prior to the date on

  9    which the other than opposition is due. Failure to do so may result in sanctions.

  10        7. Motion for Class Certification. For any action purporting to commence

  11   a class action other than an action subject to the Private Securities Litigation

  12   Reform Act of 1995, the plaintiffs must file a Motion for Class Certification no

  13   later than 90 days from the date the complaint was served, unless showing of good

  14   cause has been made.

  15        8. Proposed Orders. Each party filing or opposing a motion or seeking the

  16   determination of any matter (e.g., ex parte applications, stipulations, and general

  17   requests) shall electronically file and lodge a proposed order setting forth the relief

  18   or action sought and a brief statement of the rationale for the decision with

  19   appropriate citations.

  20        9. Preparation of Documents/PDF. Counsel shall adhere to Local Rule

  21   5-4.3.1 with respect to the conversion of all documents to a PDF so that when

  22   a document is electronically filed, it is in the proper size and format that is PDF

  23   searchable.

  24        10.   Telephonic Hearings.       The Court does not permit appearances or

  25   arguments by way of telephone conference calls.

  26        11.   Ex Parte Applications. The Court considers ex parte applications

  27   on the papers and does not usually set these matters for hearing. If a hearing is

  28   necessary, the parties will be notified. Ex parte applications are solely for


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  1    extraordinary relief and should be used with discretion. Sanctions may be imposed

  2    for misuse of ex parte applications. See Mission Power Engineering Co. v.

  3    Continental Casualty Co., 883 F.Supp. 488 (C.D. Cal. 1995).

  4          Counsel’s attention is directed to the Local Rules. The moving party shall

  5    serve the opposing party and shall notify the opposition that opposing papers must

  6    be filed not later than 3:00 p.m. on the first business day following service. If

  7    counsel does not intend to oppose an ex parte application, he or she must inform

  8    the Courtroom Deputy Clerk at (213) 894-2649.

  9          12.   Continuances. This Court has a strong interest in keeping scheduled

  10   dates certain. Changes in dates are disfavored. Trial dates set by the Court are firm

  11   and will rarely be changed. Therefore, a stipulation to continue the date of any

  12   matter before this Court must be supported by a sufficient basis that demonstrates

  13   good cause why the change in the date is essential. Without such compelling

  14   factual support, stipulations continuing dates set by this Court will not be approved.

  15   Counsel requesting a continuance must file a stipulation and lodge a proposed

  16   order including a detailed declaration of the grounds for the requested continuance

  17   or extension of time. See Local Rules. Failure to comply with the Local Rules and

  18   this Order will result in rejection of the request without further notice to the parties.

  19   Proposed stipulations extending scheduling dates do not become effective unless

  20   and until this Court so orders. Counsel wishing to know whether a stipulation has

  21   been signed shall comply with the applicable Local Rule.

  22         13.   Communications with Chambers. Counsel shall not attempt to

  23   contact the Court or its staff by telephone or by any other ex parte means. Counsel

  24   may contact the Courtroom Deputy Clerk with appropriate inquiries only. Counsel

  25   shall not contact the Courtroom Deputy regarding status of ruling on motions, ex

  26   parte applications or stipulations. Counsel shall not contact the Court to ask if

  27   a matter is going forward. Notice will be given if the matter is taken off calendar.

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  1          14.   Order Setting Scheduling Conference. Pursuant to Federal Rule

  2    of Civil Procedure 16(b), the Court will issue an Order setting a Scheduling

  3    Conference as required by Federal Rule of Civil Procedure 26 and the Local Rules

  4    of this Court. Strict compliance with Federal Rules of Civil Procedure 16 and 26

  5    is required.

  6          15.   Notice of this Order. Counsel for plaintiff or plaintiff (if appearing on

  7    his or her own behalf) shall immediately serve this Order on all parties, including

  8    any new parties to the action. If this case came to the Court by a Petition for

  9    Removal, the removing defendant(s) shall serve this Order on all other parties.

  10         16.   Courtesy Copies. Chambers copies shall be delivered to and placed in

  11   the Judge’s courtesy box, located outside of the Clerk’s office, on the 12th floor of

  12   the Roybal Federal Building, 255 East Temple Street, Los Angeles, by 5:00 p.m. on

  13   the first court date after the filing date. Courtesy copies to be provided as follows:

  14   Civil matters:

  15   Motions and related documents (oppositions, replies, exhibits); Ex parte

  16   applications and related documents (oppositions and exhibits); Joint Rule 26(f)

  17   reports; and All pretrial documents. All exhibits, declarations, etc. to chambers

  18   copies must be tabbed, where applicable. Blue-backs and hole punches are not

  19   required. Chambers copies of under seal documents shall all be placed together

  20   in a manila envelope labeled “UNDER SEAL.”

  21   Criminal matters:

  22   Motions and related documents and exhibits; Plea agreement(s); Sentencing

  23   memoranda; and Objections to the presentence investigation report. All exhibits,

  24   declarations, etc. to chambers copies must be tabbed, where applicable. Blue-backs

  25   and hole punches are not required. Chambers copies of under seal documents shall

  26   all be placed together in a manila envelope labeled “UNDER SEAL.”

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  1            17.   Applications to File Documents Under Seal. For detailed instructions

  2    and information on the procedures for filing documents under seal, please refer

  3    to Local Rule 79-5 Confidential Court Records - Under Seal. With regard to

  4    Under-seal Documents in Non-sealed Civil Cases (L.R. 79-5.2.2), the filing party

  5    shall not provide a chambers or courtesy copy of the Application or any associated

  6    documents. Please bear in mind that all applications must (1) indicate which

  7    portions of the documents to be filed under seal are confidential; and (2) provide

  8    reason(s) as to why the parties’ interest to file the document(s) under seal outweighs

  9    the public’s right to access. If a party submits an application to file under seal

  10   pursuant to a protective order only (i.e., no other reason is given), the Court will

  11   automatically deny the application if the party designating the material as

  12   confidential does not file a declaration pursuant to L.R. 79-5.2.2(b)(i). This

  13   declaration shall be entitled: “DESIGNATING PARTY’S DECLARATION IN

  14   SUPPORT OF APPLICATION TO FILE UNDER SEAL PURSUANT TO

  15   PROTECTIVE ORDER”.

  16
              IT IS SO ORDERED.
  17
  18 DATED: March 27, 2020
  19                                       R. Gary Klausner
                                           United States District Judge
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  Jan. 2020                                     8
